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Notice of Service of Process                                                                            Date Processed: 10/23/2019

Primary Contact:           Ms. Lynn Radliff
                           Amazon.Com, Inc.
                           440 Terry Ave N
                           Seattle, WA 98109-5210

Electronic copy provided to:                   Rochelle Lewis
                                               Scotty Bauder
                                               Rebecca Hartley
                                               Kimberly Thomas
                                               Lizette Fernandez
                                               Theresa Nixon
                                               Karen Curtis
                                               Lynn Foley-Jefferson
                                               Joell Parks
                                               Gianmarco Vairo
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                                               Stephen Swisher
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                                               Eugide Matondo
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Entity:                                       Amazon Web Services, Inc.
                                              Entity ID Number 2684737
Entity Served:                                Amazon Web Services, Inc., A Delaware Corporation
Title of Action:                              Asia Hryniewicki vs. Amazon Web Services, Inc.
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Case/Reference No:                            19CH00001155
Jurisdiction Served:                          Delaware
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